              Case 2:12-cr-00250-GEB Document 84 Filed 09/01/15 Page 1 of 3



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     XAVIER JOHNSON
 7

 8                       IN THE UNITED STATES DISTRICT COURT FOR THE

 9                              EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                      )       No. 2:12-CR-00250-TLN
                                                    )
12                                                  )       STIPULATION AND ORDER
            Plaintiff,                              )       CONTINUING CASE AND EXCLUDING
13                                                  )       TIME
     v.                                             )
14                                                  )
     XAVIER JOHNSON,                                )       Date: September 24, 2015
15                                                  )       Time: 9:30 am.
     KRISTIN M. CALDWELL,                           )       Judge: Honorable Troy L. Nunley
16
     WILLIAM L. BROWN.                              )
                                                    )
17          Defendants.                             )
                                                    )
18

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21
            IT IS HEREBY stipulated between the United States of America through its undersigned

22
     counsel, Matthew Morris, Assistant United States Attorney, attorney for plaintiff, together with

23
     Kelly Babineau, attorney for defendant Kristin Caldwell; William Dubois, attorney for

24
     defendant William L. Brown and Kyle Knapp, attorney for defendant Xavier Johnson that the

25
     previously-scheduled status conference, currently set for September 3, 2015, be vacated and that

26
     the matter be set for status conference on September 24, 2015 at 9:30 a.m.

27
            Counsel have conferred and this continuance is requested to allow defense counsel

28
     additional time to finalize review of the discovery, met again with our clients, investigate



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               Case 2:12-cr-00250-GEB Document 84 Filed 09/01/15 Page 2 of 3



 1   possible defenses and to continue exploring the facts of the case. In addition, there are
 2   anticipated plea agreements which will have to be triaged with our respective clients. Finally, I
 3   believe at least one counsel will be in trial this week.
 4          IT IS FURTHER STIPULATED that the ends of justice served by the granting of such a
 5   continuance outweigh the best interests of the public and the defendant in a speedy trial and that
 6   time within which the trial of this case must be commenced under the Speedy Trial Act should
 7   therefore be excluded under 18 U.S.C. Section 3161(h)(7)(B) (iv), corresponding to Local Code
 8   T-4 (to allow defense counsel time to prepare) from the date of the parties’ stipulation,
 9   September 1, 2015, up to and including September 24, 2015..
10   IT IS SO STIPULATED.
11
     Dated: September 1, 2015                                     BENJAMIN B. WAGNER
12                                                                UNITED STATES ATTORNEY

13                                                          by:   /s/ Matthew Morris
                                                                  MATTHEW MORRIS
14
                                                                  Assistant U.S. Attorney
15                                                                Attorney for Plaintiff

16   Dated: September 1, 2015                                     /s/ Kelly Babineau
17
                                                                  KELLY BABINEAU
                                                                  Attorney for Defendant
18                                                                Kristin Caldwell
19   Dated: September 1, 2015                                     /s/ William Dubois
20
                                                                  WILLIAM DUBOIS
                                                                  Attorney for Defendant
21                                                                WILLIAM L. BROWN
22
     Dated: September 1, 2015                                     /s/ Kyle R. Knapp
23                                                                KYLE KNAPP
                                                                  Attorney for Defendant
24                                                                XAVIER JOHNSON
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              Case 2:12-cr-00250-GEB Document 84 Filed 09/01/15 Page 3 of 3



 1
                                                 ORDER
 2
            The Stipulation of the parties is hereby accepted and the requested continuance is
 3
     GRANTED. This matter shall be dropped from this court’s September 3, 2015 criminal
 4
     calendar and re-calendared for status conference on September 24, 2015, at 9:30 a.m..
 5
            Based on the representations of the parties the court finds that the ends of justice served
 6
     by granting this continuance outweigh the interests of the public and the defendant in a speedy
 7
     trial. Time is excluded from the time of the filing of this stipulation on September 1, 2015,
 8
     through and including September 24, 2015.
 9

10          IT IS SO ORDERED.

11   Dated: September 1, 2015
12                                                          Troy L. Nunley
                                                            United States District Judge
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